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                               Exhibit 12



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                             Atlanta, GA

                                                                                        Page 1
                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS

       -----------------------------------X

       IN RE:    PHARMACEUTICAL INDUSTRY             )

       AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

       -----------------------------------) Civil Action

       THIS DOCUMENT RELATES TO:                     ) No. 01-12257-PBS

       United States of America, ex. rel. ) Hon. Patti Saris

       Ven-a-Care of the Florida Keys,               )

       Inc., v. Abbott Laboratories, Inc.,)

       Civil Action No. 06-11337-PBS; and )

       United States of America, ex. rel. ) VIDEOTAPED

       Ven-a-Care of the Florida Keys,               ) DEPOSITION OF

       Inc., v. Dey, Inc., et. al., Civil ) THE GEORGIA

       Action No. 05-11084-PBS; and United) DEPARTMENT OF

       States of America, ex. rel.                   ) COMMUNITY HEALTH

       Ven-a-Care of the Florida Keys,               ) by JERRY

       Inc., v. Boehringer Ingleheim                 ) DUBBERLY

       Corp. et. al., Civil Action                   )

       No. 07-10248-PBS.                             ) DECEMBER 15, 2008

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                                                                                    Page 2
   1
                                 VIDEOTAPED DEPOSITION OF
   2
                                           JERRY DUBBERLY
   3

   4
                                         December 15, 2008
   5
                                               8:51 a.m.
   6

   7
                                     75 Spring Street, SW
   8
                                       600 U.S. Courthouse
   9
                                         Atlanta, Georgia
 10

 11
                       Jennifer D. Hamon, CCR-B-2287, RPR
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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                                                                                  Page 36
   1
                               That vender changed in 2000 -- I
   2
           believe it was July 1st of 2000 -- when the
   3
           department contracted and went live with Express
   4
           Scripts to process the pharmacy claims and
   5
           perform the similar functions.
   6
                               And then that role changed again
   7
           January 1st of 2007, when the department moved to
   8
           a company called SXC.
   9
                     Q.        But continuously from 1991 through to
 10
           the present, the process has been delegated to an
 11
           outside contractor?
 12
                     A.        The process for claims adjudication and
 13
           payment, yes.
 14
                     Q.        Has that always been a computerized
 15
           system?
 16
                     A.        At -- I'm not sure at what point it
 17
           converted from -- from paper or -- or other means
 18
           to -- to electronic, but my understanding is it
 19
           has been since 1991 at least.                    So --
 20
                     Q.        What's the approximate annual -- can
 21
           you give us any sense of the approximate annual
 22
           budget for the pharmacy program over the years?

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                                                                                  Page 67
   1
           which we don't use in our reimbursement
   2
           methodology.                It also includes new AWP, which our
   3
           definitive source of AWP is our PBM's drug file.
   4
           And so we do not update individual NDC pricing
   5
           outside of our established mechanism with -- for
   6
           AWP with the PBM.
   7
                     Q.        You don't send this type information on
   8
           to the physical agent that --
   9
                     A.        No.
 10
                     Q.        -- processes the claims?
 11
                     A.        We don't forward that on to them.
 12
                     Q.        Does the Georgia Medicaid program have
 13
           a MAC program for its pharmaceutical benefits?
 14
                     A.        We do.
 15
                     Q.        What is that?
 16
                     A.        It's a maximum allowed cost program
 17
           where a price is established for a medication
 18
           that is attempted to be more reflective of their
 19
           actual acquisition cost in the market.
 20
                     Q.        What does MAC stand for?
 21
                     A.        Maximum allowable cost.
 22
                     Q.        Where has Georgia historically obtained

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                                                                                  Page 69
   1
                     Q.        What is the general point of the MAC
   2
           program?
   3
                     A.        The point of the MAC program is to try
   4
           to comply with the federal regulations of
   5
           reimbursing closer to the actual acquisition cost
   6
           of the drug.
   7
                     Q.        Is one of the goals also to help save
   8
           money for the Medicaid program?
   9
                     A.        It does that as well.
 10
                     Q.        How do federal upper limit prices come
 11
           into play in that regard?
 12
                     A.        The federal upper limit prices are set
 13
           by the feds.                Those prices are loaded into the
 14
           PBM system as well, and it's one of the points of
 15
           comparison when a claim processes to identify the
 16
           lesser-of reimbursement.
 17
                     Q.        How does the State of Georgia identify
 18
           the usual and customary charge of a provider?
 19
                     A.        The -- the usual and customary charge
 20
           is the charger submitted by the pharmacy on the
 21
           claim.          By their submission, they are conveying
 22
           to us that that is their cash paying price for a

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                                                                                  Page 75
   1
           necessary or appropriate.
   2
                     Q.        Are you aware of any time when the MAC
   3
           amount had to actually be changed as a result of
   4
           a provider submitting invoice information?
   5
                     A.        Yes.        Yes.      There was -- there was one
   6
           instance which actually applied to a -- a larger
   7
           -- it wasn't -- it wasn't specific to one drug.
   8
           Our PBM was applying a method -- the methodology
   9
           that was more aggressive than what we had
 10
           authorized.
 11
                               And so we had them readjust the
 12
           methodology to -- to suit what we had proposed to
 13
           them, which was an AWP of approximately -- AWP
 14
           minus 65 percent range is where we had looked for
 15
           most of our MACs to be set, 65 to 70 percent.
 16
                     Q.        But what was the outcome of that
 17
           particular situation?                      The MAC was set at a
 18
           higher level?
 19
                     A.        Correct.
 20
                     Q.        And that was the only time you can
 21
           think of where that happened?
 22
                     A.        Right.

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                                                                                  Page 92
   1
           calculate the rebate, the supplemental rebate.
   2
                               When we changed methodologies under
   3
           Georgia -- under Exhibit Georgia 17, AMP was not
   4
           used in -- in this calculation explicitly.
   5
           However, it was a guaranteed net unit price --
   6
           guaranteed pricing which would have taken into
   7
           account the federal rebate which is calculated
   8
           from AMP.             So --
   9
                                         (Whereupon a document was
 10
           identified as Exhibit Georgia 018.)
 11
                     Q.        (By Mr. Lavine)          I've just marked as
 12
           Exhibit 18 a letter-sized document.                       It states on
 13
           the front cover "Georgia Department of Community
 14
           Health," June 30th, 2000.                    In the upper right-
 15
           hand corner it states "Deloitte & Touche."
 16
                               I'll just ask you to take a look and
 17
           tell me if you recognize that document.
 18
                     A.        I do.
 19
                     Q.        What is it?
 20
                     A.        This is a dispensing fee survey that
 21
           the department paid Deloitte to conduct in 2000
 22
           to determine the cost of dispensing to Medicaid

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                                                                                  Page 93
   1
           pharmacies.
   2
                     Q.        On page 3, in the very first paragraph,
   3
           it states that, "During Fiscal Year 1999, the
   4
           Medicaid Program paid pharmacy providers on
   5
           behalf of its recipients for 12.7 million
   6
           prescription claims with a total expenditure of
   7
           $435 million."
   8
                               And then, Dispensing fees accounted for
   9
           approximately 10 percent of the total
 10
           expenditure.
 11
                               Do those numbers appear generally
 12
           accurate to you?
 13
                     A.        Yes.
 14
                     Q.        And this report was prepared by
 15
           Deloitte & Touche at the request of the Georgia
 16
           Medicaid program?
 17
                     A.        That's correct.
 18
                     Q.        And the purpose of it was to help
 19
           administer the Medicaid program?
 20
                     A.        Yes.
 21
                     Q.        I just wanted to go back to the
 22
           provision we talked about for the reimbursement

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                                                                                  Page 94
   1
           methodology for I think it was July of '93
   2
           through the end of 1995, where the dispensing fee
   3
           for certain drugs was based upon 10 percent of
   4
           the estimated acquisition cost.
   5
                               Do you remember that provision?
   6
                     A.        Yes.
   7
                     Q.        Is it fair to say that that provision
   8
           paid a higher dispensing fee for higher cost
   9
           drugs?
 10
                               MR. ROBBEN:           Object to the form.
 11
                     A.        Yes.        That would be generally true.
 12
                     Q.        (By Mr. Lavine)           Are you familiar with
 13
           the reasoning behind that approach?
 14
                     A.        I'm not familiar with the department's
 15
           actual documentation on that rationale.                          But the
 16
           argument that is routinely heard is that it costs
 17
           more -- more overhead, more inventory cost to
 18
           store higher cost drugs.
 19
                     Q.        For the provision that we saw for
 20
           Georgia Medicaid, the trigger for the increased
 21
           dispensing fee would have been the amount of the
 22
           reimbursement as determined by the lower-of

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                                                                                  Page 95
   1
           methodology; is that right?
   2
                     A.        I'm sorry.            Could you clarify.
   3
                     Q.        Sorry.
   4
                               If a -- why don't we just pull out
   5
           Exhibit 3, I think it is.
   6
                     A.        4.
   7
                     Q.        Were there -- there were two types of -
   8
           - or two approaches to calculating a dispensing
   9
           fee in that time frame; is that right?
 10
                     A.        Can you remind me which time frame
 11
           you're speaking of again.
 12
                     Q.        I think it's the July '93, where it
 13
           talks about the dispensing fee of 10 percent of
 14
           the GEAC up to $15.
 15
                     A.        All of the dispensing fees listed for
 16
           that time period on the historical document are
 17
           10 percent of the Georgia estimated acquisition
 18
           cost.
 19
                     Q.        I'm sorry.            Actually we're looking at
 20
           Exhibit 4.
 21
                               All right.            So the -- there was just
 22
           one approach to calculating the dispensing fee.

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                                                                                  Page 96
   1
           It was just 10 percent of the estimated
   2
           acquisition cost up to $15.
   3
                     A.        Correct.
   4
                     Q.        So the $15 would be a cap on the
   5
           dispensing fee.
   6
                     A.        Correct.
   7
                     Q.        But the 10 percent was calculated by
   8
           reference to the -- what's referred on Exhibit 4
   9
           as the GEAC; correct?
 10
                     A.        Correct.
 11
                     Q.        And the GEAC is what we talked about as
 12
           being determined on the basis of the lower-of the
 13
           various items we discussed, AWP minus 10 percent
 14
           at that time --
 15
                     A.        The --
 16
                     Q.        -- or the MAC, et cetera?
 17
                               MR. ROBBEN:           Object to the form.
 18
                     A.        The GEAC itself refers to the discount
 19
           off AWP.            So when we say "GEAC," we're referring
 20
           to AWP minus 10 percent in that case.
 21
                     Q.        (By Mr. Lavine)           And you said that a
 22
           commonly articulated reason for a higher

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                                                                                  Page 97
   1
           dispensing fee on higher cost drugs is the higher
   2
           inventory carrying cost; is -- did I say that
   3
           right?
   4
                     A.        That's the argument that the provider
   5
           community makes for that.
   6
                     Q.        And if a -- if a higher dispensing fee
   7
           was paid in connection with a drug that had an
   8
           AWP, for example, of $60 or $70 even though the
   9
           actual acquisition cost of that drug was in the
 10
           $4 to $5 range, would the -- the stated basis of
 11
           trying to cover for the increased inventory cost
 12
           be applicable?
 13
                               MR. ROBBEN:           Object to the form.
 14
                     A.        Can you restate.            I apologize.
 15
                     Q.        (By Mr. Lavine)           Well, the -- that's
 16
           okay.         It was a quite a long --
 17
                     A.        Okay.
 18
                     Q.        -- question.
 19
                               We're looking at a dispensing fee
 20
           that's 10 percent of the GEAC; correct?
 21
                     A.        Correct.
 22
                     Q.        And you said one of the reasons for

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                                                                                  Page 98
   1
           paying a higher dispensing fee for the higher
   2
           cost drugs is that there's a higher inventory
   3
           carrying cost for those drugs.
   4
                     A.        Correct.
   5
                     Q.        At least that's the articulated basis;
   6
           is that right?
   7
                     A.        Correct.
   8
                     Q.        In circumstances, however, where that
   9
           larger dispensing fee would have been paid on the
 10
           basis of a GEAC of let's say $60 even though the
 11
           pharmacy was actually acquiring it for $40, would
 12
           you agree that that stated basis for the higher
 13
           dispensing fee would be inapplicable?
 14
                               MR. ROBBEN:           Object to the form.
 15
                     A.        Yes.
 16
                     Q.        (By Mr. Lavine)           For example, if the
 17
           reimbursement on a 1-gram flip-top vial of
 18
           Vancomycin was approximately $60, that would have
 19
           led to a dispensing fee of 10 percent of that $6
 20
           -- 10 percent of the $60 would be $6; is that
 21
           right?
 22
                     A.        Correct.

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   1
                     Q.        But if the actual cost to the pharmacy
   2
           was $5, the inventory cost rationale for the
   3
           higher dispensing fee would not apply --
   4
                               MR. COLE:             Object the form.
   5
                     Q.        (By Mr. Lavine)             -- is that right?
   6
                     A.        The rationale would still stand, but
   7
           the -- but -- but the dispensing fee would
   8
           probably -- would be overstated based upon the
   9
           intent of the methodology.
 10
                     Q.        Are you aware of the general
 11
           allegations of fraud that are -- that have been
 12
           made in this litigation against the defendants
 13
           Abbott Laboratories, Dey, and Boehringer-
 14
           Ingelheim, or Roxane?
 15
                     A.        In general, yes.
 16
                     Q.        So the State of Georgia is currently
 17
           aware of the idea that at least some drug
 18
           companies have been purposely creating spreads on
 19
           their drugs between the AWP and the actual
 20
           selling price in order to drive business to their
 21
           products?
 22
                               MR. ROBBEN:             Object to the form.

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                                                                                 Page 101
   1
                     Q.        (By Mr. Lavine)             Did Georgia gain any
   2
           knowledge of those types of allegations from any
   3
           information directly provided by the
   4
           representative of any drug company?
   5
                     A.        No.
   6
                               MR. COLE:             Object to the form.
   7
                     Q.        (By Mr. Lavine)             For example, did
   8
           anybody -- any representative of Abbott
   9
           Laboratories ever convey information to Georgia
 10
           to the effect that it was purposely increasing
 11
           its AWPs on certain drugs to create larger
 12
           spreads so that it would be more profitable for
 13
           its customers, and that way Abbott would sell
 14
           more product?
 15
                               MR. COLE:             Object to the form.
 16
                     A.        No.
 17
                     Q.        (By Mr. Lavine)             Did any representative
 18
           from Dey ever tell Georgia that it was purposely
 19
           increasing its spreads on at least some of its
 20
           products so that it would be more profitable to
 21
           its customers in order to increase its sales?
 22
                               MR. ROBBEN:             Object to the form.

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                                                                                Page 102
   1
                     A.        No.
   2
                     Q.        (By Mr. Lavine)           Did any representative
   3
           from Roxane or Boehringer-Ingelheim ever tell the
   4
           State of Georgia that it was purposely creating
   5
           larger spreads on its drugs so that its drugs
   6
           would be more profitable to its customers, and
   7
           thereby it could increase its sales?
   8
                               MR. ROBBEN:           Object to the form.
   9
                     A.        No.
 10
                     Q.        (By Mr. Lavine)           So to the extent that
 11
           Georgia has knowledge of those types of
 12
           allegations, would it be fair to say that it came
 13
           from sources other than communications from drug
 14
           companies?
 15
                               MR. ROBBEN:           Object to the form.
 16
                     A.        Yes.
 17
                     Q.        (By Mr. Lavine)           And some of its
 18
           information Georgia accumulated on its own?
 19
                               MR. ROBBEN:           Object to the form.
 20
                     A.        Yes.
 21
                     Q.        (By Mr. Lavine)           Did anybody from the
 22
           State of Georgia, to your knowledge, ever tell

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                                                                                 Page 103
   1
           Abbott -- ever tell anybody from Abbott, Dey, or
   2
           Roxane that it wanted them to purposely increase
   3
           the spreads on their products to help them sell
   4
           more drugs?
   5
                               MR. ROBBEN:             Object to the form.
   6
                               MR. COLE:             Object to the form.
   7
                     A.        No.
   8
                               MR. COLE:             Is there a question pending,
   9
           or did he answer the last question?
 10
                               MR. LAVINE:             He answered the last
 11
           question.
 12
                               MR. COLE:             What was the answer?
 13
                               THE WITNESS:             No.
 14
                               MR. COLE:             Thank you.
 15
                     Q.        (By Mr. Lavine)             Can you explain the
 16
           manner in which the State of Georgia would
 17
           reimburse for what it considers to be compounded
 18
           drugs.
 19
                     A.        Compounded drugs we reimburse at the
 20
           sum of the AWPs of the ingredients of the
 21
           compound plus a dispensing fee.
 22
                     Q.        And what is the difference between a

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   1
                     A.        I wasn't privy to this discussion at
   2
           this time.
   3
                     Q.        (By Mr. Robben)           Has -- it refers to an
   4
           agreement made with the state legislature; right?
   5
                               MR. SULLIVAN:           Object to the form.
   6
                     A.        It does state that.
   7
                     Q.        (By Mr. Robben)           Has -- is -- is that a
   8
           common phrasing of the -- of the relationship
   9
           between the Georgia Medicaid program and the
 10
           state legislature --
 11
                               MR. LAVINE:           Object to form.      Sorry.
 12
                               MR. ROBBEN:           Strike that.
 13
                     Q.        (By Mr. Robben)           Is it common for
 14
           people who work for the Georgia Medicaid program
 15
           to refer to having made an agreement with the
 16
           state legislature?
 17
                               MR. LAVINE:           Object to form.
 18
                     A.        I can't think of an example where we
 19
           have made an agreement with the legislature.                                I
 20
           guess for that to be common practice, it would
 21
           have to be something I would be familiar with,
 22
           and I'm not familiar with that practice.

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                                                                                Page 257
   1
                     Q.        (By Mr. Robben)           Is it fair to say that
   2
           the reimbursement rate -- strike that.
   3
                               Is it fair to say that the
   4
           reimbursement formula that Georgia Medicaid
   5
           applies has been shaped at least in part by
   6
           political considerations?
   7
                               MR. LAVINE:           Object to form.
   8
                     A.        Yes.
   9
                     Q.        (By Mr. Robben)           And is that because
 10
           providers have lobbied Georgia Medicaid and the
 11
           state legislature and the governor when
 12
           reimbursement hasn't been to their liking?
 13
                               MR. LAVINE:           Object to form.
 14
                               MR. SULLIVAN:           Object to form.
 15
                     A.        The reason is that rate changes are
 16
           included in the budget which is included in the
 17
           bill which goes through the legislative process.
 18
                               I'm not aware of a situation where we
 19
           have pulled back on reimbursement changes due to
 20
           some agreement or other consideration made with
 21
           the legislature.
 22
                     Q.        (By Mr. Robben)           Has it ever -- strike

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                                                                                 Page 357
   1
                     Q.        (By Mr. Lavine)             Do you remember
   2
           Exhibit 14 -- or can you pull out Exhibit 14,
   3
           please.
   4
                               The very -- the next-to-last paragraph,
   5
           "We would also clarify our policy that a
   6
           dispensing fee determination must be separate and
   7
           distinct from the EAC determination and unrelated
   8
           to the cost of the drug product."
   9
                               Has it been the understanding of the
 10
           Georgia Medicaid program that that is the
 11
           directive of the federal -- the federal program
 12
           that runs Medicaid?
 13
                     A.        Yes.
 14
                               MR. COLE:             Object to the form.
 15
                     A.        Yes.
 16
                               MR. LAVINE:             Let me just mark two more
 17
           exhibits real quick.
 18
                               MR. COLE:             Was there an answer to the
 19
           last question?
 20
                               THE COURT REPORTER:             It was, "Yes."
 21
                               MR. COLE:             Thank you.
 22
                                         (Whereupon a document was

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                                                                                  Page 361
   1
                               MR. ROBBEN:             Object to the form.
   2
                               MR. COLE:             Object to the form.
   3
                     A.        Yes.        The practice is frowned upon by
   4
           CMS.        However, subsequent state plans have been
   5
           approved that do the same thing.
   6
                     Q.        (By Mr. Lavine)             Is there --
   7
                               MR. COLE:             I'm sorry.   Could I have
   8
           that answer read back, please.
   9
                                         (The record was read by the
 10
           reporter.)
 11
                               MR. COLE:             Thank you.
 12
                     Q.        (By Mr. Lavine)             You're referring to
 13
           the particular situation in Exhibit 34 that
 14
           describes that a -- a dispensing fee based upon
 15
           the ingredient as a percentage of the ingredient
 16
           cost?
 17
                     A.        No.
 18
                     Q.        What do you mean?
 19
                     A.        Subsequent state plans, for example,
 20
           moving the reimbursement to AWP minus 11 percent
 21
           plus the 4.63 --
 22
                     Q.        Is there a provision in the state plan

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                                                                                 Page 362
   1
           that specifies that the ingredient cost is higher
   2
           than it otherwise would be --
   3
                     A.        No.
   4
                     Q.        -- and, therefore, the dispensing fee
   5
           is lower than it would be?
   6
                               MR. ROBBEN:             Object to the form.
   7
                     A.        No.
   8
                               MR. COLE:             Object to form.
   9
                     A.        No.
 10
                     Q.        (By Mr. Lavine)             That's not something
 11
           that would be approved by CMS, is it?
 12
                               MR. ROBBEN:             Object to the form.
 13
                               MR. COLE:             Object to the form.
 14
                     A.        Can you clarify what the question is
 15
           again.
 16
                     Q.        (By Mr. Lavine)             If -- if the State of
 17
           Georgia explained to CMS that it wanted to
 18
           implement a policy of purposely overpaying
 19
           ingredient costs so that it could underpay the
 20
           dispensing fee, would you expect that to be
 21
           approved by CMS?
 22
                               MR. ROBBEN:             Object to the form.

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                                                                                 Page 363
   1
                               MR. COLE:             Object to the form.
   2
                     A.        No.
   3
                     Q.        (By Mr. Lavine)             Georgia -- Georgia's
   4
           Medicaid program understands that a directive
   5
           from the federal end of the Medicaid program was
   6
           to keep those two items separate.
   7
                               MR. COLE:             Object to the form.
   8
                     A.        Yes.
   9
                     Q.        (By Mr. Lavine)             Look at Exhibit 18
 10
           quickly.            It's the Deloitte & Touche exhibit.
 11
           Look at page 8.
 12
                               The average total cost to dispense a
 13
           prescription in the state of Georgia at a 95
 14
           percent confidence rate is $5.01 plus or minus 44
 15
           cents.
 16
                               So would you agree that that would lead
 17
           to a dispensing fee of between $5.45 and -- I
 18
           need to do the math so I get it right -- $4.77?
 19
                               MR. ROBBEN:             Object to the form.
 20
                     Q.        (By Mr. Lavine)             Did I get my math
 21
           wrong?
 22
                     A.        I'm very tired, but I think it's 4.57.

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                                                                                 Page 364
   1
                     Q.        I think you're right.
   2
                               So the Deloitte & Touche report
   3
           commissioned by the Georgia Department of Health
   4
           dated June 30th, 2000 concluded that the average
   5
           cost to dispense a prescription in the state of
   6
           Georgia is between $4.50 and $5.45.
   7
                               Would you agree with that?
   8
                     A.        Yes.
   9
                     Q.        And what was the actual dispensing fee
 10
           in the state of Georgia at that time?
 11
                               And Exhibit 4 might be a good
 12
           reference.
 13
                     A.        $4.63 and $4.33.
 14
                     Q.        Would you agree that there is not a
 15
           substantial difference between the actual
 16
           dispensing fee and the results of the Deloitte
 17
           study?
 18
                               MR. ROBBEN:             Object to the form.
 19
                               MR. COLE:             Object to the form.
 20
                     A.        There's not a substantial difference,
 21
           in my opinion.
 22
                     Q.        (By Mr. Lavine)             Can you look at

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                                                                                Page 368
   1
           by Mr. Robben, on the third page, We estimate
   2
           that the actual generic drug acquisition cost was
   3
           a national average of 65.93 percent below AWP.
   4
                     A.        I see that.
   5
                     Q.        So would you agree that the size of the
   6
           discounts of AWP were getting larger and larger
   7
           over -- over time?
   8
                     A.        They appear to be, all other things
   9
           being equal with the study design.
 10
                               THE COURT REPORTER:          What was the last
 11
           part?
 12
                               THE WITNESS:          They appear to be getting
 13
           larger, all other things being equal given the
 14
           study design.
 15
                     Q.        (By Mr. Lavine)          What was the average
 16
           discount below AWP found in the Deloitte & Touche
 17
           study commissioned by the State of Georgia?
 18
                     A.        I believe it was 22.
 19
                               Let's look.
 20
                     Q.        For generic drugs; right?
 21
                     A.        In response to your question, on
 22
           Exhibit 18, page 11, the discount for generic

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                                                                                Page 369
   1
           drugs on average was 22 percent.
   2
                     Q.        And for brand name drugs?
   3
                     A.        For brand name drugs, the average
   4
           discount from AWP was minus 11 percent.
   5
                               MS. TOWNES:           Are we almost ready to
   6
           wrap up?
   7
                               MR. LAVINE:           Yeah.   Just probably five
   8
           minutes.
   9
                     Q.        (By Mr. Lavine)           Let me just ask
 10
           general questions about the different reports
 11
           issued over the years that you had discussed
 12
           earlier.
 13
                               You -- you had talked about government
 14
           reports issued from health and human services and
 15
           other sources.
 16
                               Do you remember that?
 17
                     A.        I do.
 18
                     Q.        Do you remember any of those reports
 19
           that specifically stated that one of the reasons
 20
           for the differential between the published AWP
 21
           and the actual cost was that some -- some drug
 22
           companies were exercising control over those

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                                                                                 Page 372
   1
                               MR. COLE:             Object to the form.
   2
                     A.        I do not.
   3
                     Q.        (By Mr. Lavine)             And the -- and you
   4
           talked about the State of Georgia having
   5
           knowledge about there being discounts from --
   6
           between the AWP and the actual acquisition cost.
   7
                               Do you remember that?
   8
                     A.        Yes.
   9
                     Q.        And you agree that that's information
 10
           that over the years came into the -- or was that
 11
           information that was accumulated by the State of
 12
           Georgia over the years?
 13
                               MR. ROBBEN:             Object to the form.
 14
                     A.        Yes.
 15
                     Q.        (By Mr. Lavine)             I mean, slowly it
 16
           picked up more and more information about the
 17
           details of the spread; is that right?
 18
                               MR. ROBBEN:             Object to the form.
 19
                     A.        Yes.
 20
                     Q.        (By Mr. Lavine)             Are you aware of any
 21
           information about the size of the spread and a
 22
           reason that some spreads continue to get larger

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                                                                                Page 373
   1
           on the part of the State of Georgia being derived
   2
           from any kind of a disclosure from a drug
   3
           company?
   4
                               MR. ROBBEN:           Object to the form.
   5
                     A.        No.
   6
                     Q.        (By Mr. Lavine)           So it's information
   7
           that the State of Georgia figured out on its own?
   8
                     A.        Yes, and in conjunction with
   9
           conversations with other payers in the industry.
 10
                     Q.        But not because any drug company came
 11
           to the State of Georgia and explained any of this
 12
           information?
 13
                     A.        No.
 14
                               MR. ROBBEN:           Object to the form.
 15
                     Q.        (By Mr. Lavine)           Can you look at
 16
           Exhibit 13 quickly, please.                     That's the one with
 17
           the prices of some of the Dey products followed
 18
           by a paragraph stating, "the AWP listed here does
 19
           not represent any actual price."
 20
                     A.        Yes.
 21
                     Q.        Do you remember that exhibit?
 22
                     A.        Yes.

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                                                                                  Page 377
   1
           - an actual pharmacy?
   2
                     A.        The --
   3
                               MR. COLE:             Object to the form.
   4
                     A.        The generally accepted consensus is
   5
           that it was to represent the cost at which the --
   6
           the pharmacy was able to purchase the drug from
   7
           the manufacturer.                     So --
   8
                     Q.        (By Mr. Lavine)              But wouldn't that be a
   9
           direct price?
 10
                     A.        Could be.
 11
                               MR. COLE:             Object to the form.
 12
                     A.        There's -- there's no definition.
 13
                     Q.        (By Mr. Lavine)              You're not familiar
 14
           with the differences between a wholesale
 15
           acquisition cost, a direct price, and an average
 16
           wholesale price?
 17
                               MR. ROBBEN:             Object to the form.
 18
                     A.        I'm not familiar with -- I mean, direct
 19
           price is a price that a pharmacy would buy the
 20
           drug directly from a manufacturer.
 21
                     Q.        (By Mr. Lavine)              All right.   What is --
 22
                     A.        The wholesale acquisition cost would be

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   1
           the cost at which a wholesaler obtains the drug
   2
           typically from a manufacturer.
   3
                     Q.        And then the AWP?
   4
                     A.        Is a price at which the pharmacy --
   5
           erroneously is the price at which the pharmacy
   6
           would obtain the drug.
   7
                     Q.        But it does pertain to that level of
   8
           the marketplace; right?
   9
                               MR. ROBBEN:             Object to the form.
 10
                     Q.        (By Mr. Lavine)             I understand you're
 11
           saying there's -- there might be discounts from
 12
           the AWP.
 13
                               But your -- aren't you agreeing that
 14
           it's -- represents the price between the
 15
           wholesaler and the pharmacy?
 16
                               MR. ROBBEN:             Object to the form.
 17
                               MR. COLE:             Object to the form.
 18
                     A.        That's how it is intended.              But it does
 19
           not represent that.
 20
                     Q.        (By Mr. Lavine)             If you include the
 21
           word -- let me start over.
 22
                               Are you saying it doesn't represent

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